                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                                Lynchburg Division

            NOTICE TO PARTIES OF RIGHT TO CONSENT TO
         JURISDICTION OF UNITED STATES MAGISTRATE JUDGE

UNITED STATES OF AMERICA
     Plaintiff(s)                               DATE: March 13, 2014

vs.                                             CIVIL ACTION NO. 6:14CV00005

WILLIAM L. WALLIS
      Defendant(s)

        In accordance with the provisions of Title 28, U.S.C. Sec. 636(c), and
Fed.R.Civ.P. 73, you are hereby notified that a United States Magistrate Judge of this
district court is available to exercise the court's jurisdiction and to conduct any or all
proceedings in this case including a jury or nonjury trial, and entry of a final
judgment. Exercise of this jurisdiction by a magistrate judge is, however, permitted
only if all parties voluntarily consent.

       You may, without adverse substantive consequences, withhold your consent,
but this will prevent the court's jurisdiction from being exercised by a magistrate
judge. If any party withholds consent, the identity of the parties consenting or
withholding consent will not be communicated to any magistrate judge or to the
district judge to whom the case has been assigned.

       An appeal from a judgment entered by a magistrate judge may be taken
directly to the United States Court of Appeals for the Fourth Circuit in the same
manner as an appeal from any other judgment of a district court.

                                                       JULIA C. DUDLEY, CLERK

                                                       By:    s/Fay Coleman
                                                              Deputy Clerk

If you desire to consent to this action please indicate by signing below and returning
the form to the Clerk's Office within l5 days from the date of this Notice.

Signature                         Printed Name                              Date

____________________________ ______________________________                 ___________

Counsel for:

________________________________________________________________________


DO NOT RETURN THIS FORM ELECTRONICALLY. IF RETURNED, PAPER DOCUMENT MUST BE
FILED.




Case 6:14-cv-00005-NKM-RSB Document 4 Filed 03/13/14 Page 1 of 1 Pageid#: 10
